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               Exhibit D
      (Previously Filed as Exhibit 89 to the Decl. of
         Bryon Becker, Dkt. Nos. 591-9 & 603-4)
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